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UNITED STATES`DTS toy COURT
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v.
CRIMINAL COMPLAINT

c -
HONALD BoRcHERT G&@REE. 1 9 9

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

 

knowledge and belief. On or about December 22 2003 in Cook county, in the Northern Districtof

lllinois. and elsewhere defendant did,

TFiAVEL |N lNTERSTATE COMMEFICE, W|TH THE lNTENT AND FOFI THE PURPOSE OF ENGAG|NG |N |LLIC|T
SEXUAL CONDUCT (AS DEF|NED lN T|TLE 18, UN|TED STATES CODE, SECT|ON 2423(f)), W|TH A PERS_ON

UNDEFl 18 YEARS OF AG'E.

in violation of Tit|e 18 United States Code, Section 2423(b] .

l further state that l arn a Sgecial Agent with the Federal Bureau of lnvestigation and that this complaint is based

on the following facts:

See attached affidavit.

Continued on the attached sheet and made a part`hereof: X Yes No

Signature of Gémp|ainant
Sworn to before me and subscribed in my presence,

December 22. 2003 at Chicado. lllinois
Date City and State

MORTON DENLow, u.s. Magistrate Judge W w

Name & Title cf Judicial Of.ficer Signature of Judicia| Officer \

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STATE OF ILLINOIS )

COUNTY OF COOK )

AEEIQLYLI

I, Suzanne L. Beckerman, being duly sworn, do hereby
depose and state:

I. INTRODUCTION

l. I am a Special Agent with the Federal Bureau of
Investigation (FBI), and am assigned to the Cyber Crime
Squad. I have been a Special Agent With the FBI for l year
and 10 months. In my capacity as a Special Agent, I am
assigned to investigate violations of federal law, including
_crimes against children (CAC), and other violent crimes.

2. I am a CAC Coordinator of the Chicago Division of
the FBI, and as such, investigate cases concerning CAC, such
as child pornography (production, distribution, and
possession), and interstate travel for illegal purposes
where children are victimized, or are intended to be
victimized. I have participated in multiple investigations
regarding interstate travel for the purpose of engaging in
sex With minors.

3. In addition to my experience, I have received
training in the investigation of computer-related crimes,
protecting children online, crimes against children online
undercover certification, and I have attended the Dallas
Crimes Against Children Conference.

4. The information contained within this affidavit is

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based on my personal observations and training, as well as
on information related to me by other law enforcement
officers. This affidavit does not, however, contain
everything I know about this investigation or all the
information, obtained during the course of this
investigation.

5. This affidavit is made in support of a complaint
charging RONALD E. BORCHERT with violating Title 18, United
States Code, Section 2423(b), which states:

A person who travels in interstate Commerce,

for the purpose of engaging in any illicit sexual
conduct with another person shall be fined under
this title or imprisoned not more than 30 years,
or both

6.The term llillicit sexual conduct" is defined as a
sexual act (as defined in 18 U.S.C. § 2246) with a person
under 18 years of age that would be in violation of Chapter
lOBA of Title 18 if the sexual act occurred in the special
maritime and territorial jurisdiction of the United States.
Sexual intercourse falls within this definition.

THE IN'VESTIGATIO_N

7. Cook County Sheriff’s Police Department Deputy
Tiffany Russ routinely acts in an undercover Capacity by
entering Internet "chat rooms" while posing as a minor
child. On or about October 21, 2003, Deputy Russ was acting
in an undercover capacity as a 15 year old female child

named Melanie using the screen name "goody_ii_shoes2003"

(hereinafter "Melanie"). Deputy Russ was utilizing Yahoo

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Messenger (hereinafter "Yahoo") on an undercover computer.
Deputy Russ went to a Yahoo chat room named "young school
girls for teacher:l" when an individual using the screen
name "hoseron," (hereinafter "Ron") initiated a computer
"chat" conversation.

8. During the first chat on 10/21/2003, Ron wrote,

"want to see a gym teacher cum?," to which Melanie replied,

"grossim only 15." Ron then responded, "I’ve dated girls
your age." Ron further went on to ask, "o, so you’re a
virgin." Melanie replied, "yes." Melanie inquired, "what

does your screen name mean" to which Ron replied, "hose is
my dick, ron is my first name.'1 While masturbating for
Melanie on his web cam (a video camera that produces images
over the Internet), Ron went on to ask Melanie "so when you
gonna get that Cherry popped," "if no one found out would
you do me," "would you try to sit on this" , "do you think
you wanna be cummed in," and "when is your period?" During
this chat, Ron asked Melanie, "would your mom let you keep
it if you got prego,“ and wrote "you could stay here if you
had too." Ron advised during this chat that he is 29 years
old, a "phys ed teacher" and from "mn."

9. During a chat on 10/27/2003, Ron inquired if
Melanie had thought "about us dating on and off when i can
get to IL?" Ron further wrote, "you wouldnt say anything to
anyone would you," and "ok, if i buy you things, would your

mom find out?" During this chat, Ron continued to discuss

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"Melanie’s" menstrual cycle and the possibility of pregnancy
and advised, "if we hooked up right before your period, i
could cum inside you." Ron also advised, "i can meet you
not this coming weekend but the following weekend, "now, i
will have a room in a hotel, do you wanna go there or just
do it in the car?"

10. In a chat on 10/30/2003, Ron wrote, "wanna see the
cook that will fuck you soon?" while exposing himself to
Melanie on his web cam. During this chat, Ron asked, "wanna
meet in nov," and "you wanna date secretly."

ll. During a chat on ll/5/2003, Melanie wrote that she
did not think Ron was serious about meeting her. Ron
replied he was serious, "but you have to keep quiet."
Melanie then wrote, "as long as you don't tell my mom," to
which Ron responded, "hell no," "she have me put in jail."
During this chat, Ron gave Melanie a toll free number to his
home office. The telephone number was 888-844-8873. An
online reverse look up of the telephone number reveals the
number is registered to Country Green Lawn Pro located in
Hackensack, MN.

12. On November l7, 2003, Melanie wrote, "so are u
liek my bf [boyfriend] now," to which Ron responded, "you
cant talk alot about it yet though"..."because your a
minor,"..."we would both get in trouble." During this chat,
Ron wrote, "you know since youve never had sex before, you

might bleed a bit," and instructed Melanie to "bring a pad."

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Ron further asked Melanie if she "ever played with
yourself", "ever played with your pussy, no," and "ever
tried to suck a guy off before?"

13. On November 18, 2003, at approximately 3:04 p.m.,
Deputy Russ, acting in an undercover capacity as Melanie,
placed a phone call to Ron at 888-844-8873. During this
conversation, which was recorded, Ron advised he would be
arriving in Chicago late Saturday night, which would have
been November 22, 2003. Ron and Melanie discussed how Ron
would call after 8:30 a.m. on Sunday since Melanie’s mother
should not be home. Ron advised Melanie he would be calling
with his cellular telephone (number 218-820-0846) on Sunday
and asked if Melanie had caller ID. During the
conversation, Ron and Melanie agreed to meet at the
McDonald’s located on Des Plaines and Madison in Forest
Park. During the conversation, Melanie expressed concerns
about not wanting to get pregnant to which Ron advised she
(Melanie) Could go back to Minnesota with him if she wanted.
Ron further advised the age of consent in Minnesota is 16
and they could get married then.

14. During a chat on November 18, 2003, Ron wrote, "if
i wanted you to move in with me, would you?," and "if i
asked you to, would you have my baby?" Ron further wrote,
"you would marry me when your 16, and the baby wont be born

till after your 16," "and you can do your ged online." Ron

indicated during this chat that he would be driving a red

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Taurus, wearing a leather jacket or a Columbia parka and
wearing on a black baseball cap.

15. On November 19, 2003, at approximately 2:35
p.m., Deputy Russ, acting in an undercover capacity as
Melanie, placed a phone call to Ron at 888-844-8873. During
this conversation, which was recorded, Ron confirmed he
would be arriving on Sunday, November 23, 2003, and would
call when he was near Forest Park. Ron also advised he
would try to stay somewhere nearby. Ron told Melanie they
would be doing a lot of “experimenting." Ron advised he
would bring lubricant since this would be a "sore thing" for
Melanie because it would be her first time having sexual
intercourse.

16. Due to weather conditions, Ron did not travel to
Illinois that weekend. Instead, on November 22, during an
offline message, Ron wrote, "im sorry babe, its just not
good to drive in this stuff. i got to st cloud and couldnt
see shit. the roads are waay bad." "im gonna call you in
the morning." In an offline message later in the day, hon
wrote to Melanie, "you know i want yo. let me know what you
have going on the weekend after thanksgiving. and if you
wann get pregnant, id be happy to either way. cause id have
you move in with me here."

17. During chats on November 25, 2003 and November 26,
2003, Ron and Melanie discussed meeting on the upcoming

Sunday, November 23, 2003. Again, Ron reiterated, "no

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matter what happens, we cant say anything to anyone."

18. On November 29, 2003, at approximately 9:58 PM,
Ron sent Melanie an offline message stating, "im gonna take
off now babe," "iw ill see you around 8 or so," "talk to you
then," "my cell is 218-820-0846." Ron did not call on
Sunday morning, November 23, 2003 and on December 3, 2003,
sent an offline message to Melanie explaining he had
received a page to assist in the search for a missing
college student named Dru and therefore could not come.

19. During a chat on December 8, 2003, Ron wrote, "im

really sorry for the failed attempts of me coming to see

you." Ron asked "Melanie," "when is your period again,"
"its later in the month right." Melanie responded, "should
be this week." Ron then wrote, "dang," "i wanted to cum in
you so you could feel it," "but not while your period is
after we meet,“ "i will just pull out." Ron continued to
write, l'you wanna date right?" "We have to be careful
though bk."

20. On December 8, 2003, at approximately 2:35 p.m.,
Deputy Russ, acting in an undercover capacity as Melanie,
placed a phone call to Ron at 888-844-8873. During this
conversation, which was recorded, Ron discussed meeting
Melanie on December 22, 2003.

21. During a chat on December 15, 2003, Ron asked,
"you ok if i have your viginity babe?" Ron also confirmed

he would be coming on Monday, December 22, 2003, by writing,

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"im coming monday ok." During this chat, Ron asked
"Melanie," "you wanna get naughty when im there?"...""you
want me to lick your pussy," "you seen my dick, would you
suck it?"

22. During a chat on December 19, 2003, Ron wrote "im
going to stay at forest park, havent had looked exactly
where." Melanie, then responded "ok then we can meet at the
mcdonalds by my house ok." Ron asked Melanie, "what do you
wanna do?" to which Melanie wrote, "idunno waht do u wanan
do." Ron then wrote, "your way too hot to just look at,
LOL."

23. In an offline message to Melanie from Ron, Ron
wrote, "hey babe, i couldnt get anything in forest park, so
i had to settle for a room in river grove a few miles away,"
and "i will call you after 9 AM Monday."

24. On December 22, 2003, at approximately 10:00 AM,
Ron arrived at the McDonald's Restaurant located at the
corner of Des Plaines and Madison in Forest Park, Illinois
and approached Deputy Russ, acting in an undercover capacity
as Melanie. Ron stated, "Mel, there you are." Ron arrived
at McDonald's driving a red, 1995 Ford Taurus bearing
Minnesota license plates HHW974. This vehicle is registered
to Ronald Borchert of Hackensack, Minnesota. Ron was
wearing a leather jacket and a black baseball cap. Ron was
then taken into custody.

CONCLUSION

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25. Based on the evidence described in this affidavit
and my experience and training, I believe that probable
cause exists to believe that on or about December 22 2003,
in the Northern District of Illinois, and elsewhere, Ronald
Borchert, traveled in interstate commerce from Hackensack,
Minnesota to the Northern District of Illinois for the
purpose of engaging in illicit sexual conduct with another
person for which a person can be charged with a criminal
offense, in violation of Title 18, United States Code,
Sections 2423(b).

Further affiant sayeth not.

Speciai Agent
Suzanne L. Beckerman
Federal Bureau of
Investigation

Subscribed and sworn to before
me this 22nd day of December, 2003.

deem

Hon. horton Denlow
U.S. Magistrate Judge

 

